Case 1:23-cr-00239-CKK   Document 230-2   Filed 01/29/25   Page 1 of 2




                         EXHIBIT 2




                                 3
      Case 1:23-cr-00239-CKK            Document 230-2        Filed 01/29/25      Page 2 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,
                                                        Case No. 23-cr-239 (CKK)
                 v.

 ILYA LICHTENSTEIN, et al.,

                          Defendants.



             [PROPOSED] ORDER GRANTING MOTION TO INTERVENE

        Upon consideration of the Motion to Intervene submitted by five interested third-parties

on January 28, 2025 (Hjalmar Peters, Allan Newman, Dolan Harrington, Christian Dressler, and

Juergen Lankat) (“Movants”), it is hereby:

        ORDERED, that the Movants’ Motion to Intervene is GRANTED for purposes of

allowing them to intervene as third parties, submit verified ancillary petitions, object to the

Government’s Supplemental Memorandum Regarding Restitution, and otherwise participate in

this case to protect their interests.




                                                      COLLEEN KOLLAR-KOTELLY
                                                      UNITED STATES DISTRICT JUDGE




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